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ALD-244                                             August 11, 2021
      UNITED STATES COURT OF APPEALS FOR THE THIRD CIRCUIT

                                     C.A. No. 21-2095

IN RE: JERRY FRAZIER, Petitioner

Present: McKEE, GREENAWAY, JR., and BIBAS, Circuit Judges

      Submitted is Petitioner’s application pursuant to 28 U.S.C. § 2244 to file a second
      or successive habeas corpus petition in the above-captioned case.


                                                             Respectfully,

                                                             Clerk

________________________________ORDER_________________________________
       The application for permission to file a second or successive § 2254 petition is
granted. Frazier has made a prima facie showing that his claims of new, exculpatory
evidence “warrant a fuller exploration by the district court.” Goldblum v. Klem, 510
F.3d 204, 219 & n.9 (3d Cir. 2007).


                                                             By the Court,

                                                             s/Stephanos Bibas
                                                             Circuit Judge

Dated: October 12, 2021
Sb/cc: All Counsel of Record

                             A True Copy:



                             Patricia S. Dodszuweit, Clerk
